       Case
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                                                                                           Robert W. Seiden, Esq.
                                                                                             Steve E. Seiden, Esq.
                                                                                             Michael Stolper, Esq.
469 Seventh Avenue                                                                           Amiad Kushner, Esq.
Suite 502                            The proposals contained herein, with respect to         Jake Nachmani, Esq.
New York, NY 10018                   the representation of Link Motion Inc. ("LKM")             Dov B. Gold, Esq.
USA                                  and anticipated motion practice, are approved              Adam Rosen, Esq.
+1.212.523.0686                      without prejudice to the parties' rights to raise      Richard Frankel, Esq.
www.seidenlawgroup.com                                                                         Andrew Sklar, Esq.
                                     any relevant issues in the future. Counsel should   Claudia Varner, Paralegal
                                     duly file a notice of appearance for LKM.            Kayla Conway, Analyst
October 22, 2020
                                     Dated: 10/23/2020
VIA ECF
Honorable Debra C. Freeman
Magistrate Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

             Re:         Baliga v. Link Motion Inc. et al. 1:18-cv-11642-VM-DCF (S.D.N.Y.)


Dear Judge Freeman:

         Pursuant to the case management conference held on October 15, 2020, counsel for plaintiff
Wayne Baliga (“Plaintiff” or “Baliga”), defendant Vincent Wenyong Shi (“Defendant” or “Shi”), and
Robert W. Seiden (“Receiver”) jointly submit this letter to apprise the Court of the parties’ resolution
of the issue of who, moving forward, will represent Link Motion Inc. (“LKM” or the “Company”) in
this action.

        Plaintiff and Shi agree that, subject to the Court’s approval, Michael Maloney of Felicello
Law P.C., counsel for Shi, will represent the Company with respect to its interests in the motion to
dismiss that Shi intends to file on November 4, 2020 subject to the conditions that (i) should a future
conflict arise between Felicello Law’s continued representation of the Company and its representation
of Shi, Mr. Maloney and Felicello Law shall have the right to continue to represent Shi even if they
are required to withdraw as counsel for the Company; and (ii) Shi may withdraw his motion for
indemnification (ECF Dkt. Nos. 169-71) without prejudice to refiling at a later date. Certainly, as to
the motion to dismiss now scheduled to be filed on November 4, 2020, Shi and LKM have an identity
of interests and will likely raise overlapping, if not substantively identical defenses and, therefore,
the parties do not perceive a present conflict of interest between the Company and Shi with respect
to the motion to dismiss.

       Counsel for Plaintiff has conferred with the Receiver and is advised that the Receiver consents
to the arrangement described above. The parties hereby seek the approval of the Court of this
arrangement. In the event the Court approves the foregoing arrangement, Shi’s motion for
indemnification shall be deemed withdrawn without prejudice.



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                                                                     Magistrate Judge Debra C. Freeman
                                                                                       October 22, 2020

        As to defendant Shi’s to-be-filed motion to dissolve the Receivership, Shi respectfully submits
that this motion can be resolved based on submissions from Plaintiff, Shi and the Receiver without
separate counsel or submissions by the Company and respectfully refers the Court and the parties to
28 U.S.C. § 959. Shi intends to file the motion contemporaneously with the motion to dismiss on
November 4, 2020. Plaintiff and the Receiver do not object to this proposal but reserve all rights.

      Counsel for the parties and the Receiver are available to discuss these issues at the Court’s
convenience.


Dated: October 22, 2020



                                              /s/ Jake Nachmani____________
                                              Jake Nachmani
                                              SEIDEN LAW GROUP LLP
                                              469 Seventh Ave., Suite 502
                                              New York, New York 10018
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                                              Attorneys for Plaintiff Wayne Baliga




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